Case 19-23665-VFP Doc 58 Filed 02/17/23 Entered 02/17/23 16:05:31                             Desc Main
  UNITED STATES BANKRUPTCY   COURT Page 1 of 3
                         Document
  DISTRICT OF NEW JERSEY
 Caption in Compliance with
 D.N.J.LBR 9004-1

 STEWART LEGAL GROUP, P.L.
 Formed in the State of Florida
 Gavin N. Stewart, Esq.
                                                                      Order Filed on February 17, 2023
 Of Counsel to Bonial & Associates, P.C.
                                                                      by Clerk
 401 East Jackson Street, Suite 2340                                  U.S. Bankruptcy Court
 Tampa, FL 33602                                                      District of New Jersey
 Tel: 813-371-1231/Fax: 813-371-1232
 E-mail: gavin@stewartlegalgroup.com Attorney for
 Specialized Loan Servicing LLC as servicing agent for
 Wells Fargo Bank, N.A. as Trustee for the MASTR Asset
 Backed Securities Trust 2007-NCW Mortgage Pass-
 Through Certificates Series 2007-NCW
                                                         Chapter 13
  In re:
  Patricia S. Williams                                   Case No. 19-23665-VFP
  aka Patricia Morris
                                                         Hearing Date: February 16, 2023
                                         Debtor.         Judge Vincent F. Papalia

                            CONSENT ORDER RESOLVING
                       CREDITOR’S CERTIFICATION OF DEFAULT

                The relief set forth on the following pages is hereby ORDERED.




 DATED: February 17, 2023
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Debtor:                  Patricia S. Williams
Case No.:                19-23665-VFP
Caption of Order:        CONSENT ORDER RESOLVING CREDITOR’S CERTIFICATION
                         OF DEFAULT

         THIS MATTER having been opened to the Court upon the Creditor’s Certification of

Default (“COD”) filed by Specialized Loan Servicing LLC as servicing agent for Wells Fargo

Bank, N.A. as Trustee for the MASTR Asset Backed Securities Trust 2007-NCW Mortgage Pass-

Through Certificates Series 2007-NCW (“Creditor”), whereas the post-petition arrearage amount

was $3,862.67, as of February 11, 2023, and whereas the Debtor and Creditor seek to resolve the

COD, it is hereby ORDERED:

         1.      The automatic stay provided under 11 U.S.C. §362(a) shall remain in effect as to

Creditor’s interest in the following property: 12 North 4th Street, Paterson, New Jersey 07522

(“Property”) provided that the Debtors comply with the following:

              a. On or before March 1, 2026 and continuing monthly on or before the 1st day of each

                 consecutive month until paid in full, the Debtor shall cure the post-petition

                 arrearage amount by making two (2) monthly payments of $1,287.00 each and

                 one (1) monthly payment of $1,288.67 directly to Creditor; and

              b. In addition to the above payments, the Debtor shall resume making the regular

                 monthly payments to Creditor as they become due beginning with the March 1,

                 2023 payment and continuing thereafter in accordance with the underlying loan

                 documents.

         2.      All payments due hereunder shall be sent directly to Creditor at the following

address: Specialized Loan Servicing LLC, 6200 S. Quebec Street, Greenwood Village, CO

80111.
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       3.      The Debtors will be in default under the Consent Order in the event that the Debtors

fail to comply with the payment terms and conditions set forth in above paragraphs and/or if the

Debtors fail to make any payment due to Creditor under the Chapter 13 Plan.

       4.      If the Debtors fail to cure the default within thirty (30) days from the date of default,

Creditor may submit a Certificate of Default to the Court on fourteen (14) days’ notice to counsel

for Debtors and the Chapter 13 Trustee for an order lifting the automatic stay imposed under 11

U.S.C. § 362(a) and permitting Creditor to exercise any rights under the loan documents with

respect to the Property.

       5.      Creditor is awarded reimbursement of attorney fees in the amount of $250.00 to be

paid through the Chapter 13 Plan.

STIPULATED AND AGREED:


/s/ Stuart D. Gavzy                                    /s/Gavin N. Stewart
Stuart D. Gavzy, Esq.                                  Gavin N. Stewart, Esq.
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